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9
                            UNITED STATES DISTRICT COURT
10
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,               No. CR 17-00720-SVW
12
               Plaintiff,                    SENTENCING POSITION FOR DEFENDANT
13                                           ANTHONY SCOTT LLOYD
                     v.
14                                           Hearing Date: July 16, 2018
     ANTHONY SCOTT LLOYD,                    Time:         11:00 a.m.
15                                           Place:        Courtroom of the
               Defendant.                                  Hon. Stephen V.
16                                                         Wilson

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19         Plaintiff United States of America, by and through its counsel
20   of record, the Acting United States Attorney for the Central District
21   of California, and Assistant United States Attorney Jake D. Nare,
22   hereby files its Sentencing Position.
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1         This submission is based upon the attached memorandum of points

2    and authorities, the Presentence Investigation Report disclosed on

3    June 11, 2018, the Recommendation Letter dated June 11, 2018, the

4    files and records in this case, and such further evidence and

5    argument as the Court may permit.        The government respectfully

6    requests the opportunity to supplement its position or respond to

7    defendant as may become necessary.

8    Dated: July 2, 2018                  Respectfully submitted,

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13                                                     /s/
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1                       MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          On April 16, 2018, defendant pleaded guilty to a single count

4    indictment charging him with a violation of 18 U.S.C. § 115(a)(1)(B),

5    Threatening a United States Official.

6          In the Presentence Investigation Report (“PSR”), the United

7    States Probation Office (“USPO”) calculated a total offense level of

8    12.   The calculated Total Offense Level included a base offense level

9    of 12 pursuant to USSG § 2A6.1(a)(1), a four-level reduction pursuant

10   to USSG § 2A6.1(b)(6) because the offense “involved a single instance

11   evidencing little or no deliberation,” a six-level enhancement

12   pursuant to USSG § 3A1.2(b) because the victim was a government

13   officer or employee and the offense of conviction was motivated by

14   such status, and a two-point reduction for acceptance of

15   responsibility.      (PSR ¶¶ 19-32.)   The USPO further calculated a

16   Criminal History Category of I, and a resulting Sentencing Guidelines

17   range of 10-16 months.      (PSR ¶¶ 34-44.)    The USPO recommends a

18   downward variance from the recommended Guidelines range and

19   recommends a sentence of probation for a term of three years with

20   conditions including participation in the home detention program for

21   a period of 12 months and 100 hours of community service, and a

22   mandatory $100 special assessment.

23   II.   THE GOVERNMENT’S SENTENCING POSITION AND OBJECTIONS
24         The government agrees with the calculations of the USPO with the

25   exception of the six level enhancement pursuant to USSG § 3A1.2(b),

26   which requires that the offense be motivated by the victim’s status

27   as a government officer.      As discussed in the PSR, defendant’s

28   conduct appears to arise from watching news coverage containing
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1    excerpts of comments about the President made by Congresswoman Waters

2    during a political rally.      (PSR ¶ 18.)    Therefore, although the

3    government believes that it is a close call, it is not clear that

4    defendant’s actions were motivated by Congresswoman Waters’ status as

5    a member of Congress, as opposed to the comments themselves,

6    regardless of the speaker’s status.

7         The government therefore believes that the total offense level

8    should be 6, with a resulting Sentencing Guidelines range of 0-6

9    month’s imprisonment.     The government, however, agrees with the

10   USPO’s recommended sentence of: (1) a three-year term of probation

11   under the modified terms and conditions as referenced below; and (2)

12   a $100 special assessment.

13        In the event this Court sentences defendant to a term of

14   probation or supervised release, Central District of California

15   General Order 05-02 requires this Court to impose certain standard

16   conditions with which defendant must comply.         The Ninth Circuit

17   recently held that portions of those standard conditions are

18   unconstitutionally vague.      United States v. Evans, 883 F.3d 1154,

19   1162-64 (9th Cir. 2018).     Specifically, the Court struck as

20   unconstitutionally vague the following portions of Standard

21   Conditions 5, 6, and 14, respectively:

22        •   The requirement that defendants “meet other family
23            responsibilities” set forth in Standard Condition 5;

24        •   The requirement that defendants work “regularly” set forth in
25            Standard Condition 6; and

26        •   The lack of specificity in Standard Condition 14 regarding
27            the meaning of “risks,” “personal history,” and

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1            “characteristics,” and who precisely the defendant is

2            required to notify.

3    Id. at 1162-64.    To account for the Ninth Circuit’s holding in Evans

4    while also complying with General Order 05-02, the government

5    respectfully requests that this Court modify Standard Conditions 5,

6    6, and 14 as reflected in the attached proposed order.

7    III. FACTUAL BACKGROUND
8          On October 22, 2017, defendant called United States

9    Congresswoman Maxine Waters on her Washington D.C. office telephone

10   line and left a voicemail stating:

11         “This message is directed to Maxine Waters herself.          If you

12         continue to threaten the President, which you’ve done this

13         morning with your comments about you’re going to, what you said

14         at your little faggot conference, if you continue to make

15         threats towards the President, you’re going to wind up dead,

16         Maxine, ‘cause we’ll kill you.      You can call the FBI, you can

17         call the NSA, you can call whoever the fuck you want and report

18         this and try to get a surge or some kind of fucking phone

19         number.   Bitch, if you do it again, you’re dead.        You’re a

20         fucking dead ass nigger.”

21   (PSR ¶ 12.)

22   IV.   ANALYSIS OF THE 18 U.S.C. § 3553(a) FACTORS
23         Based on the foregoing, the government recommends that defendant

24   be sentenced to a three-year term of probation under the terms and

25   conditions recommended by USPO, as modified by United States v.

26   Evans, and a $100 mandatory special assessment.         The government’s

27   recommended sentence is sufficient, but not greater than necessary,

28   to achieve the purposes set forth in 18 U.S.C. § 3553(a).

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1         A.     Nature and Circumstances of the Offense
2         Section 3553(a)(1) requires consideration of the nature and

3    circumstances of defendant’s crime in determining an appropriate

4    sentence.    The government’s recommended sentence of three years’

5    probation accounts for the seriousness of the offense.          Defendant

6    left an extremely threatening message directed toward a specific

7    public official.    While it now appears that defendant did not have

8    any plans to carry out the threat, the victim had no way of knowing

9    this at the time the threat was made.

10        Defendant, however, has a limited criminal history and the

11   conviction that will follow as a result of his crime, along with the

12   home detention program he will participate in for a year, constitutes

13   significant punishment given his lack of contact with law

14   enforcement.    The recommended sentence also accounts for the fact

15   that defendant likely acted with little foresight, but also

16   recognizes the seriousness of his conduct and the impact it had on a

17   public official who needs to perform her duties without fear of

18   threats of death from those that may disagree with her politically.

19        The Court should also consider the need for defendant’s sentence

20   to promote respect for the law, afford adequate deterrence, and

21   protect the public from further crimes by defendant.          18 U.S.C.

22   § 3553(a)(2).    The appropriate punishment must have a deterrent

23   effect on defendant and others who may consider engaging in similar

24   behavior toward public officials with whom they may disagree.            The

25   resulting conviction and three years of probation defendant will

26   receive will -- in light of his lack of criminal history --

27   constitute appreciable specific and general deterrence.

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1         B.    History and Characteristics of Defendant
2         Section 3553(a)(1) also calls for factoring the history and

3    characteristics of the defendant into his sentence.          The government’s

4    recommendation accounts for several mitigating factors that are

5    listed in the PSR.    These factors include: (1) defendant’s limited

6    criminal history; (2) defendant’s compliance with all pretrial

7    conditions; (3) the fact that defendant quickly accepted

8    responsibility for his actions both in his interview with the FBI and

9    by quickly entering a guilty plea with the Court; (4) defendant’s

10   caretaking of his grandmother during a serious illness; and (5) as

11   previously discussed, defendant does not appear to have had any plans

12   to actually carry out the threat.        However, these mitigating factors

13   must be considered along with concerns raised in the PSR about

14   defendant’s potential for violence and threatening conduct.           In

15   addition to the threatening message left with Congresswoman Walters,

16   defendant informed FBI agents that he intended to physically confront

17   an individual with whom he was having an argument over the internet.

18   Further, the limited criminal history that defendant does have

19   appears to involve violence.      The government, however, believes the

20   recommended three-year term of probation will allow the USPO to

21   monitor defendant’s conduct to ensure he does not continue to engage

22   in threatening and unstable behavior.

23   V.   CONCLUSION
24        The government thus respectfully recommends that the Court

25   impose a sentence of a three-year term of probation, with a twelve

26   month period of home detention, and a mandatory special assessment of

27   $100.

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